JS 44 (Rev. 08/18)

purpose of initiating the civil docket sheet.

I. (a) PLAINTIFFS

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

(SEE INSTRUCTIONS ON NEXT P-

Patrick Williams, Individually and on Behalf of All Others Similarly

Situated

(b) County of Residence of First Listed Plaintiff

Jefferson County, KY

CEXCEPT IN U.S. PLAINTIFF CASHES)

(o Attorneys (Mir Name, Address, and Telephone Number .
Al Holifield, Esq., Sarah R. Johnson, Esq., Holifield Janich Rachal

Ferrera, PLLC, 11907 Kingston Pike, Ste. 201, Knoxville, TN 37934,

(865) 566-0115

Lf OF THIS FORALL

DEFENDANTS

NOTE:
THE

Attorneys fp Ananray

 

County of Residence of

First Listed Defendant

CBL & Associates Properties, Inc., Stephen D. Lebovitz, Charles B.
Lebovitz, A. Larry Chapman, and, Farzana Khaleel

Hamilton County, TN

ON (C28. PLAINTH FF CASES ONLY)

UAND BD

 

VOLVED.

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
TRACT OF L

 

O 1 US. Government
Plaintiff
M2 US. Government

Defendant

in One Box Only)
¥ 3. Federal Question
(U8. Government Not a Party)

04 Diversity

(ndicate Citizenship of Parties in lem Lp

 

IV. NATURE OF SUIT (lace an “x” in One Box Only

Hl. CIT

(For Diversity Cases Only}

PTE
Cruzen of Fhis Sute a
Citizen of Another State m2
Citizen or Subject of a 78

Foreign County

ZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

and One Box for Defendant}

DEF PTF DEF

cI | Incorporated or Principal Place ao4 04
of Business la This State

“1 2 Incorporated avd Principal Place a5 as
of Business In Another State

o) 3) Foreign Nation go6 O06

Click here for: Nature of

Suit Code Descriptions.

 

 

 

 

 

 

 

 

 

 

 

 

[ CONTRACT. TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES J
© 110 Insurance PERSONAL INJURY PERSONAL INJURY oF 028 Drug Related Seizure "3 422 Appeal 28 USC 158 OG 375 False Claims Act
O 120 Marine 0 310 Airplane oF 365 Personal Injury - of Property 26 USC 881 [2 423 Withdrawal O 376 Qui Tam (31 USC
oF 130 Miller Act 0 314 Airplane Product Product Liability 77 690 Otber 28 USC 157 372%a))
© 140 Negotiable Instrument Liability OF 367 Health Cares ( 400 State Reapportionment
©) 150 Recovery of Overpayment | [4 320 Assault. Libel & Pharmaceutical PROPERTY RIGHTS O 410 Antitrust
& Enforcement of Judgment Slander Personal Injury SF 820 Copyrights ( 430 Banks and Banking
C1 151 Medicare Act 0) 330 Federal Employers” Product Liability oF 830 Patent O 450 Commerce
CH 182 Recovery of Defaulted Liability ST 368 Asbestos Personal 7 835 Patent - Abbreviated 460 Deportation
Student Loans C1 340 Marine Injury Product New Drug Application [0 470 Racketeer Influenced and
(Excludes Veterans) T 345 Marine Product Liability fo) 840 Trademark Corrupt Organizations
©) 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY © 480 Consumer Credit
of Veteran's Benefits & 350 Motor Vehicle 0 370 Other Fraud 01 710 Fair Labor Standards TT Sal HEA (1395 ff) O 485 Telephone Consumer
2 160 Stockholders’ Suits ©) 355 Motor Vehicle OF 371 Truth in Lending Act T) 862 Black Lung (923) Protection Act
C1 190 Other Contract Product Liability CF 380 Other Personal D720 Labor’Management SF 863 DIWC/DIWW (405(g)) [9 490 Cable/Sat TV
195 Contract Product Liability | 360 Other Personal Property Damage Relations c) 864 SSID Tide XVI OF 850 Securities/Commoadities/
1 196 Franchise Injury 1 385 Property Damage 1 740 Railway Labor Act TF 865 RSL (403(g)) Exchange
© 362 Personal Injury - Product Liability OF 751 Family and Medical O 890 Other Statutory Actions
Medical Malpractice Leave Act 0 891 Agricultural Acts
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS $7 790 Other Labor fitwation FEDERAL TAX SUITS O 893 Environmental Matters
{7 210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 1 791 Employee Retirement oF 870 Taxes (U.S. Plaintiff 1 895 Freedom of Information
G 220 Foreclosure © 441 Voting & 463 Alien Detainee Income Sceurity Act or Defendant) Act
230 Rent Lease & Ejectinent 0 442 Employment SF 510 Motions to Vacate ST STEERS. Chird Party 0 896 Arbitration
© 240 Torts to Land 443 Housing’ Sentence 26 USC 7609 899 Administrative Procedure
©) 245 Tort Product Liability Accommodations OF $30 General Act/Review or Appeal of
7 290 AH Other Real Property C1 445 Amer, w/Disabilities -] 1 535 Death Penalty IMMIGRATION Agency Decision
Employment Other: OF 462 Naturalization Application 1 950 Constitutionality of
7 446 Amer. w/Disabilities -] 0} S40 Mandamus & Other | 468 Other lownigration State Statutes
Other G $50 Civil Rights Actions
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O 560 Civil Detainee -

 

Conditions of
Confinement

 

 

 

 

 

V. ORIGIN (Place an “Xin One Box Onky)

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Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
ispecifiy Transfer Direct File

 

VI. CAUSE OF ACTION

VII. REQUESTED IN
COMPLAINT:

Brief description of cause:

 

(4 CHECK IF THIS IS A CLASS ACTION
UNDER RULE 23, F.R.Cv.P.

VI. RELATED CASE(S)

IF ANY

(See instructions):

Class Action Complaint for Violations of Federal Securities Laws

DEMAND S$

Cite the U.S. Civil Statute under which you are filing (Do aot cite jurisdictional statutes unless diversity tj

15 U.S.C. §§ 78)(b), 78t(a), 78aa; Securities Act §§ 27; 28 U.S.C. § 1331; 28 U.S.C. § 1391(b)

CHECK YES only if demanded in complaint:

JURY DEMAND:

A Yes ONo

 

jupGE J Ronnie Greer — DOCKET NUMBER 1:19-cv-00149 0
DATE SIGNATURE OF ATTORNEY OF RECORD
06/21/2019 /s/ Sarah R. Johnson

 

FOR OFFICE USE ONLY

RECEIPT #

Case 1: 1: 19-c -cv-00181- JRG- CHS Document 1- 2 Filed 06/21/19

AMOUNT

APPLYING IFP

UDGE

MAG. JUDGE

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